Case 3:20-cv-00919-MHL-EWH Document 5 Filed 01/29/21 Page 1 of 1 PagelD# 13

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
CEDRIC HAMMOND,
Plaintiff,
Vv. Civil Action No. 3:20CV919
HAMPTON ROADS REGIONAL JAIL,

Defendant.

MEMORANDUM OPINION

By Memorandum Order entered on December 21, 2020, the Court conditionally docketed
Plaintiff's action. At that time, the Court directed Plaintiff to affirm his intention to pay the full
filing fee by signing and returning a consent to the collection of fees form. The Court warned
Plaintiff that a failure to comply with the above directive within thirty (30) days of the date of
entry thereof would result in summary dismissal of the action.

Plaintiff has not complied with the Court’s order to return a consent to collection of fees
form. As a result, he does not qualify for i forma pauperis status. Furthermore, he has not paid
the statutory filing fee for the instant action. See 28 U.S.C. § 1914(a). Plaintiffs conduct
demonstrates a willful failure to prosecute. See Fed. R. Civ. P. 41(b). Accordingly, this action
will be DISMISSED WITHOUT PREJUDICE.

An appropriate Order shall accompany this Memorandum Opinion.

ha) 7
M. Hannah L | Og

United States District Judge
Date: / - 24 -2|

Richmond, Virginia
